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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

MWK RECRUITING, INC.,             §
                                  §
           Plaintiff,             §
                                  §
v.                                §                                 1:18-CV-444-RP
                                  §
EVAN P. JOWERS,                   §
                                  §
                                  §
           Defendant.             §
                                  §
EVAN P. JOWERS,                   §
                                  §
           Counterplaintiff,      §
                                  §
v.                                §
                                  §
MWK RECRUITING, INC., ROBERT E.   §
KINNEY, RECRUITING                §
PARTNERS GP, INC.,                §
KINNEY RECRUITING LLC,            §
COUNSEL UNLIMITED LLC, and KINNEY §
RECRUITING LIMITED,               §
                                  §
           Counterdefendants.     §

                                            ORDER

       On November 12, 2019, the Court granted Plaintiff/Counterdefendant MWK Recruiting,

Inc. (“MWK”) and Counterdefendants Robert E. Kinney (“Kinney”), Michelle W. Kinney,

Recruiting Partners GP, Inc., Kinney Recruiting LLC, Counsel Unlimited LLC, and Kinney

Recruiting Limited’s (collectively, the “MWK entities”) Opposed Expedited Motion for Issuance of

a Preliminary and a Permanent Injunction (“Injunction Motion”). (Mot., Dkt. 102; Order, Dkt. 119).

       Defendant/Counterplaintiff Evan P. Jowers (“Jowers”) appealed the Court’s order on

November 19, 2019. (Dkt. 121). On November 6, 2020, the Fifth Circuit Court of Appeals vacated




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the Court’s order and remanded the MWK entities’ Injunction Motion for further consideration and

assessment by the Court in accordance with the Fifth Circuit’s order. (Dkt. 222, at 9).

        On December 15, 2020, the Court held a hearing by telephone with the parties to discuss the

Fifth Circuit’s judgment and mandate and the MWK entities’ Injunction Motion. (See Dkt. 223; Dkt.

234). At the hearing, counsel for the MWK entities indicated they do not intend to pursue the

motion, and the parties agreed there was no longer a dispute about the underlying matter of the

injunction. Accordingly, the injunction remains vacated in accordance with the Fifth Circuit’s

judgment, and the Court will moot the MWK entities’ Injunction Motion, (Dkt. 102), absent a

request from one or all of the parties by filing the appropriate motion on or before January 15,

2021.

        SIGNED on December 22, 2020.



                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE




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